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UNITED STATES DISTRICT COURT HI__}/)C ¢T,.
SOUTHERN DISTRICT OF NEW YORK ll \ l_
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U`NITED STATES OF AMERICA INDICTMENT

~ v. - 18 Cr.

IBRAHIM MIZRAHI, l y
a/k/a “Albert Mizrahi,” : iv :;j
a/k/a “Abraham Mizrahi, ” : og- % ,|

Defendant. :

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COUN'I' ONE

(Wire Fraud)

The Grand Jury charges:

l. From at least in or about April 2018, up to and
including in or about August 2018, in the Southern District of
New York and elsewhere, IBRAHIM MIZRAHI, a/k/a “Albert Mizrahi,”
a/k/a “Abraham Mizrahi,” the defendant, Willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, and
attempting to do so, transmitted and caused to be transmitted by
means of Wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
Wit, MIZRAHI participated in a scheme to defraud, by telephone,

email, and Wire transfers of funds, among other means and

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methods, a factoring company (“Factoring Company-l”), which had
entered into a factoring agreement with an apparel company
(“Apparel Company-l”) owned and operated by MIZRAHI, by creating
and submitting invoices for factoring that were false,
fraudulent, and fictitious and did not reflect goods that had
been actually sold by Apparel Company-l and, in furtherance of
that scheme, transmitted and caused to be transmitted email
communications containing the above-described invoices from
Factoring Company~l in New York to a second company for
collection (“Factoring Company-Z”) in Virginia.

(Title 18, United States Code, Sections 1343, 1349, and 2.)

FORFEITURE ALLEGATION

 

2. As a result of committing the offense alleged in Count
One of this Indictment, IBRAHIM MIZRAHI, a/k/a “Albert Mizrahi,”
a/k/a “Abraham Mizrahi,” the defendant, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section
981(a)(l)(C) and Title 28 United States Code, Section 2461(c),
any and all property, real and personal, that constitutes or is
derived from proceeds traceable to the commission of said
offense, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to
the commission of said offense and the following specific

property: One blue Bentley Continental GT, VIN Number

SCBFH7ZA1GC052269.

Substitute Asset Provision
3. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States
Code, Section 2461(€), to seek forfeiture of any other property
of the defendant up to the value of the above forfeitable

property,

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853; and
tle 28, United States Code, Section 2461.)

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United St tes Attorney

 

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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
v.
IBRAHIM MIZRAHI,
a/k/a “Albert Mizrahi,”

a/k/a “Abraham Mizrahi,”

Defendant.

 

INDICTMENT
18 Cr.
(18 U.S.C. §§ 1343, 1349, & 2.)

GEoFFR;z¥\ s. BERMAN

 

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